      Case 2:20-cr-00184-RMP      ECF No. 37   filed 05/25/21   PageID.102 Page 1 of 1

                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



 1                                                                  May 25, 2021
                           UNITED STATES DISTRICT COURT                  SEAN F. MCAVOY, CLERK
 2
                        EASTERN DISTRICT OF WASHINGTON
 3
 4
     UNITED STATES OF AMERICA,                      No. 2:20-CR-00184-RMP-1
 5
 6                       Plaintiff,                 ORDER DENYING DEFENDANT’S
                                                    MOTION TO MODIFY
 7                       v.                         CONDITIONS OF RELEASE WITH
 8                                                  LEAVE TO RENEW
     CHRISTOPHER LUVIAN,
 9
                                                    MOTION DENIED WITH LEAVE
10                       Defendant.                 TO RENEW (ECF No. 36)
11
           Before the Court is Defendant’s Motion to Modify Conditions of Release,
12
     ECF No. 36. Defendant recites in his motion that neither the United States nor
13
     U.S. Probation oppose this request.
14
           Specifically, Defendant is requesting to reside at Palouse Oxford House and
15
     participate in intensive outpatient treatment upon discharge from inpatient
16
     treatment.
17
           The Court has considered the motion and progress report, IT IS ORDERED
18
     Defendant’s Motion, ECF No. 36, is DENIED WITH LEAVE TO RENEW.
19
     The Defendant shall return to the custody of the U.S. Marshal upon completion of
20
     inpatient treatment, pursuant to the terms of the Court’s previous order, ECF No.
21
     33.
22
           IT IS SO ORDERED.
23
           DATED May 25, 2021.
24
25
                                  _____________________________________
26                                          JOHN T. RODGERS
27                                 UNITED STATES MAGISTRATE JUDGE
28



     ORDER - 1
